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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    )
ESTATE OF ASHLI BABBITT and         )
AARON BABBITT, individually and on  )
behalf of the ESTATE OF ASHLI       )
BABBITT,                            )
                    Plaintiffs,     )
                                    )
       v.                           )                Case No. 1:24cv1701-ACR
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Defendant.        )
____________________________________)

                                  JOINT STATUS REPORT

       Under the Court’s May 20, 2025, Minute Order, Plaintiffs Estate of Ashli Babbitt and

Aaron Babbitt, individually and on behalf of the Estate of Ashli Babbitt (“Plaintiffs”), and

Defendant the United States of America (“Defendant” and together with Plaintiffs, the “Parties”),

hereby submit this Joint Status Report. Counsel have been in touch by email frequently and

conferred via telephone on May 29, 2025, to discuss the matters herein. The Parties have

reached a settlement in principle and have made significant progress in finalizing a settlement

agreement. The Parties plan to file another joint status report on June 6, 2025.

Dated: May 30, 2025                          Respectfully submitted,

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